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                   EXHIBIT 3
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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 JOSELYN RAMOS, KAITLIN BROOKS,
 CARL FLORIAN, and FRANCIS
 LAURITZEN, individually and on behalf of
 all others similarly situated,
                                                      Case No. 21-cv-02032
         Plaintiffs,
                                                      Honorable Charles P. Kocoras
 v.

ZOOMINFO TECHNOLOGIES, LLC, a
Delaware limited liability company,

         Defendant.


             DECLARATION OF PHILIP L. FRAIETTA IN SUPPORT OF
      PLAINTIFFS’ MOTION FOR AND MEMORANDUM OF LAW IN SUPPORT OF
            ATTORNEYS’ FEES, EXPENSES, AND INCENTIVE AWARDS

         Pursuant to 28 U.S.C. § 1746, I hereby declare and state as follows:

         1.     I am a citizen of the State of New York, and I am over the age of eighteen years

old. I am a partner with the law firm of Bursor & Fisher, P.A., which has been retained to

represent Plaintiffs Joselyn Ramos, Kaitlin Brooks, Carl Florian, and Francis Lauritzen

(“Plaintiffs”) in this matter, and I am admitted to practice before this Court. I am entering this

Declaration in support of Plaintiffs’ Motion for Attorneys’ Fees, Expenses, and Incentive

Awards (the “Fee Petition”). This Declaration is based upon my personal knowledge except

where expressly noted otherwise. If called upon to testify to the matters stated herein, I could

and would competently do so.

         2.     I am a member in good standing of this Court and of the Illinois, New York,

California, New Jersey, and Michigan Bars.

        3.      I have reviewed the concurrently filed Declaration of Michael W. Ovca in

Support of Plaintiffs’ Motion for and Memorandum of Law in Support of Attorneys’ Fees,

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Expenses, and Incentive Awards. The statements therein are true and accurate to the best of my

knowledge. To avoid redundancy, I hereby incorporate paragraphs 2-10 and 16-18 of the Ovca

Declaration as if fully stated herein.

B&F’s Work in this Litigation

       4.      B&F became involved in this case in September 2021, when we joined Edelson

P.C. (“Edelson”) as co-counsel in this Action.

       5.      Since that time, B&F worked closely with co-counsel at Edelson on all facets of

this case, including discovery and settlement negotiations.

       6.      In this case, B&F agreed to undertake Plaintiffs’ and the Classes’ case on a

contingent basis. We recognized from the beginning that achieving recovery for the classes was

far from guaranteed, given the many unsettled issues of first impression presented in a case

brought under multiple right of publicity statutes.

       7.      Nevertheless, given B&F’s proven track record of effectively and successfully

prosecuting complex class actions, we undertook the prosecution of the Classes’ claims on a

purely contingent basis. A true and accurate copy of the Firm Resume of Bursor & Fisher, P.A.

is attached hereto as Exhibit 3-A.

       8.      B&F has extensive experience litigating class actions of similar size, scope, and

complexity to the instant action. My firm and I were recently appointed Class Counsel in similar

right of publicity matters. See Fischer, et al. v. Instant Checkmate LLC, No. 19-cv-04892, 2022

WL 971479 (N.D. Ill. Mar. 31, 2022); Butler v. Whitepages, Inc., No. 19-cv-04871, ECF No.

261 (N.D. Ill. June 16, 2022); Krause v. RocketReach, No. 21-cv-01938 (N.D. Ill., Sept. 12,

2023). And we negotiated over $27 million in right of publicity settlements, excluding this one.

See Eisenberg v. Confi-Chek, Inc., 2021-CH-05599 (Cir. Ct. Cook Cnty. July 1216 2024)

(granting preliminary approval of settlement with IRPA fund totaling $4,896,540); Gaul v.


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CheckPeople, Inc., 21-cv-01313, dkt. 42 (C.D. Ill. June 20, 2024) (granting preliminary approval

of settlement with IRPA fund amounting to $2,598,050); Fischer, dkt. 286, dkt. 283-1 ¶¶ 1.7,

1.13, 1.31, 1.36, 1.43, 1.51, 1.66 (finally approving settlement with total fund of $10,102,897);

Krause, dkt. 97, dkt. 94-1 ¶ 1.27 (total settlement fund of $1,596,300); Butler, dkt. 277, dkt. 272-

1 ¶¶ 1.17, 1.26 (total settlement fund of $4,072,640). We have also been lead counsel in

numerous privacy-related class actions across the United States. See, e.g., Perez v. Rash Curtis

& Associates, Case No. 16-cv-03396 (N.D. Cal.) ($75.6 million class wide settlement);

Schreiber v. Mayo Foundation for Medical Education and Research, Case No. 22-cv-00188

(W.D. Mich.) ($52.5 million class wide settlement); Edwards v. Hearst Communications, Inc.,

Case No. 15-cv-03934 (S.D.N.Y.) ($50 million class wide settlement); Ruppel v. Consumers

Union of United States Inc., Case No. 16-cv-02444 (S.D.N.Y.) ($16.375 million class wide

settlement); Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-

05671 (S.D.N.Y.) ($13.75 million class wide settlement).

       9.      In addition, B&F has also been recognized by courts across the country for its

expertise. See Ex. 3-A; see also Ebin v. Kangadis Food Inc., 297 F.R.D. 561, 566 (S.D.N.Y.

2014) (Rakoff, J.) (“Bursor & Fisher, P.A., are class action lawyers who have experience

litigating consumer claims. … The firm has been appointed class counsel in dozens of cases in

both federal and state courts, and has won multi-million dollar verdicts or recoveries in five

[now six] class action jury trials since 2008.”); Perez v. Rash Curtis & Associates, 2020 WL

1904533, at *16 (N.D. Cal. Apr. 17, 2020) (Gonzalez Rogers, J.) (noting Bursor & Fisher

achieved “extraordinarily good” results in the litigation).

       10.     To date, my firm has also spent $12,299.88 in out-of-pocket costs and expenses

in connection with the prosecution of this case. These costs and expenses are reflected in the

record of my firm, and were necessary to prosecute this litigation.


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       11.     Furthermore, B&F continues to expend time and other resources in an effort to

ensure that the Class Members secure their relief under the Settlement. Class Counsel will

continue to work diligently to ensure the best relief possible for the Class Members.

       I declare under penalty of the perjury that the foregoing is true and correct. Executed on

October 4, 2024 at New York, New York.

                                                     /s/ Philip L. Fraietta
                                                         Philip L. Fraietta




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               EXHIBIT 3-A
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                                            www.bursor.com

701 BRICKELL AVENUE            1330 AVENUE OF THE AMERICAS                1990 NORTH CALIFORNIA BLVD.
   MIAMI, FL 33131                    NEW YORK, NY 10019                     WALNUT CREEK, CA 94596



                                           FIRM RESUME

          With offices in Florida, New York, and California, BURSOR & FISHER lawyers have
   represented both plaintiffs and defendants in state and federal courts throughout the country.

           The lawyers at our firm have an active civil trial practice, having won multi-million-
   dollar verdicts or recoveries in six of six class action jury trials since 2008. Our most recent
   class action trial victory came in May 2019 in Perez v. Rash Curtis & Associates, in which Mr.
   Bursor served as lead trial counsel and won a $267 million jury verdict against a debt collector
   found to have violated the Telephone Consumer Protection Act. During the pendency of the
   defendant’s appeal, the case settled for $75.6 million, the largest settlement in the history of the
   Telephone Consumer Protection Act.

           In August 2013 in Ayyad v. Sprint Spectrum L.P., in which Mr. Bursor served as lead trial
   counsel, we won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing the
   class’s recovery of more than $275 million in cash and debt relief.

          In Thomas v. Global Vision Products, Inc. (II), we obtained a $50 million jury verdict in
   favor of a certified class of 150,000 purchasers of the Avacor Hair Regrowth System. The legal
   trade publication VerdictSearch reported that this was the second largest jury verdict in
   California in 2009, and the largest in any class action.

          The lawyers at our firm have an active class action practice and have won numerous
   appointments as class counsel to represent millions of class members, including customers of
   Honda, Verizon Wireless, AT&T Wireless, Sprint, Haier America, and Michaels Stores as well
   as purchasers of Avacor™, Hydroxycut, and Sensa™ products. Bursor & Fisher lawyers have
   been court-appointed Class Counsel or Interim Class Counsel in:
                  1. O’Brien v. LG Electronics USA, Inc. (D.N.J. Dec. 16, 2010) to represent a
                     certified nationwide class of purchasers of LG French-door refrigerators,
                  2. Ramundo v. Michaels Stores, Inc. (N.D. Ill. June 8, 2011) to represent a
                     certified nationwide class of consumers who made in-store purchases at
                     Michaels Stores using a debit or credit card and had their private financial
                     information stolen as a result,
                  3. In re Haier Freezer Consumer Litig. (N.D. Cal. Aug. 17, 2011) to represent a
                     certified class of purchasers of mislabeled freezers from Haier America
                     Trading, LLC,
                  4. Rodriguez v. CitiMortgage, Inc. (S.D.N.Y. Nov. 14, 2011) to represent a
                     certified nationwide class of military personnel against CitiMortgage for
                     illegal foreclosures,
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           5. Rossi v. The Procter & Gamble Co. (D.N.J. Jan. 31, 2012) to represent a
               certified nationwide class of purchasers of Crest Sensitivity Treatment &
               Protection toothpaste,
           6. Dzielak v. Whirlpool Corp. et al. (D.N.J. Feb. 21, 2012) to represent a
               proposed nationwide class of purchasers of mislabeled Maytag Centennial
               washing machines from Whirlpool Corp., Sears, and other retailers,
           7. In re Sensa Weight Loss Litig. (N.D. Cal. Mar. 2, 2012) to represent a certified
               nationwide class of purchasers of Sensa weight loss products,
           8. In re Sinus Buster Products Consumer Litig. (E.D.N.Y. Dec. 17, 2012) to
               represent a certified nationwide class of purchasers,
           9. Ebin v. Kangadis Food Inc. (S.D.N.Y. Feb. 25, 2014) to represent a certified
               nationwide class of purchasers of Capatriti 100% Pure Olive Oil,
           10. Forcellati v. Hyland’s, Inc. (C.D. Cal. Apr. 9, 2014) to represent a certified
               nationwide class of purchasers of children’s homeopathic cold and flu
               remedies,
           11. Ebin v. Kangadis Family Management LLC, et al. (S.D.N.Y. Sept. 18, 2014)
               to represent a certified nationwide class of purchasers of Capatriti 100% Pure
               Olive Oil,
           12. In re Scotts EZ Seed Litig. (S.D.N.Y. Jan. 26, 2015) to represent a certified
               class of purchasers of Scotts Turf Builder EZ Seed,
           13. Dei Rossi v. Whirlpool Corp., et al. (E.D. Cal. Apr. 28, 2015) to represent a
               certified class of purchasers of mislabeled KitchenAid refrigerators from
               Whirlpool Corp., Best Buy, and other retailers,
           14. Hendricks v. StarKist Co. (N.D. Cal. July 23, 2015) to represent a certified
               nationwide class of purchasers of StarKist tuna products,
           15. In re NVIDIA GTX 970 Graphics Card Litig. (N.D. Cal. May 8, 2015) to
               represent a proposed nationwide class of purchasers of NVIDIA GTX 970
               graphics cards,
           16. Melgar v. Zicam LLC, et al. (E.D. Cal. March 30, 2016) to represent a
               certified ten-jurisdiction class of purchasers of Zicam Pre-Cold products,
           17. In re Trader Joe’s Tuna Litigation (C.D. Cal. December 21, 2016) to
               represent purchaser of allegedly underfilled Trader Joe’s canned tuna.
           18. In re Welspun Litigation (S.D.N.Y. January 26, 2017) to represent a proposed
               nationwide class of purchasers of Welspun Egyptian cotton bedding products,
           19. Retta v. Millennium Products, Inc. (C.D. Cal. January 31, 2017) to represent a
               certified nationwide class of Millennium kombucha beverages,
           20. Moeller v. American Media, Inc., (E.D. Mich. June 8, 2017) to represent a
               class of magazine subscribers under the Michigan Preservation of Personal
               Privacy Act,
           21. Hart v. BHH, LLC (S.D.N.Y. July 7, 2017) to represent a nationwide class of
               purchasers of Bell & Howell ultrasonic pest repellers,
           22. McMillion v. Rash Curtis & Associates (N.D. Cal. September 6, 2017) to
               represent a certified nationwide class of individuals who received calls from
               Rash Curtis & Associates,
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           23. Lucero v. Solarcity Corp. (N.D. Cal. September 15, 2017) to represent a
               certified nationwide class of individuals who received telemarketing calls
               from Solarcity Corp.,
           24. Taylor v. Trusted Media Brands, Inc. (S.D.N.Y. Oct. 17, 2017) to represent a
               class of magazine subscribers under the Michigan Preservation of Personal
               Privacy Act,
           25. Gasser v. Kiss My Face, LLC (N.D. Cal. Oct. 23, 2017) to represent a
               proposed nationwide class of purchasers of cosmetic products,
           26. Gastelum v. Frontier California Inc. (S.F. Superior Court February 21, 2018)
               to represent a certified California class of Frontier landline telephone
               customers who were charged late fees,
           27. Williams v. Facebook, Inc. (N.D. Cal. June 26, 2018) to represent a proposed
               nationwide class of Facebook users for alleged privacy violations,
           28. Ruppel v. Consumers Union of United States, Inc. (S.D.N.Y. July 27, 2018) to
               represent a class of magazine subscribers under the Michigan Preservation of
               Personal Privacy Act,
           29. Bayol v. Health-Ade (N.D. Cal. August 23, 2018) to represent a proposed
               nationwide class of Health-Ade kombucha beverage purchasers,
           30. West v. California Service Bureau (N.D. Cal. September 12, 2018) to
               represent a certified nationwide class of individuals who received calls from
               California Service Bureau,
           31. Gregorio v. Premier Nutrition Corporation (S.D.N.Y. Sept. 14, 2018) to
               represent a nationwide class of purchasers of protein shake products,
           32. Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast (S.D.N.Y.
               Oct. 24, 2018) to represent a class of magazine subscribers under the
               Michigan Preservation of Personal Privacy Act,
           33. Bakov v. Consolidated World Travel Inc. d/b/a Holiday Cruise Line (N.D. Ill.
               Mar. 21, 2019) to represent a certified class of individuals who received calls
               from Holiday Cruise Line,
           34. Martinelli v. Johnson & Johnson (E.D. Cal. March 29, 2019) to represent a
               certified class of purchasers of Benecol spreads labeled with the
               representation “No Trans Fat,”
           35. Edwards v. Hearst Communications, Inc. (S.D.N.Y. April 24, 2019) to
               represent a class of magazine subscribers under the Michigan Preservation of
               Personal Privacy Act,
           36. Galvan v. Smashburger (C.D. Cal. June 25, 2019) to represent a proposed
               class of purchasers of Smashburger’s “Triple Double” burger,
           37. Kokoszki v. Playboy Enterprises, Inc. (E.D. Mich. Feb. 7, 2020) to represent a
               class of magazine subscribers under the Michigan Preservation of Personal
               Privacy Act,
           38. Russett v. The Northwestern Mutual Life Insurance Co. (S.D.N.Y. May 28,
               2020) to represent a class of insurance policyholders that were allegedly
               charged unlawful paper billing fees,
           39. In re: Metformin Marketing and Sales Practices Litigation (D.N.J. June 3,
               2020) to represent a proposed nationwide class of purchasers of generic
               diabetes medications that were contaminated with a cancer-causing
               carcinogen,
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            40. Hill v. Spirit Airlines, Inc. (S.D. Fla. July 21, 2020) to represent a proposed
                nationwide class of passengers whose flights were cancelled by Spirit Airlines
                due to the novel coronavirus, COVID-19, and whose tickets were not
                refunded,
            41. Kramer v. Alterra Mountain Co. (D. Colo. July 31, 2020) to represent a
                proposed nationwide class of purchasers to recoup the unused value of their
                Ikon ski passes after Alterra suspended operations at its ski resorts due to the
                novel coronavirus, COVID-19,
            42. Qureshi v. American University (D.D.C. July 31, 2020) to represent a
                proposed nationwide class of students for tuition and fee refunds after their
                classes were moved online by American University due to the novel
                coronavirus, COVID-19,
            43. Hufford v. Maxim Inc. (S.D.N.Y. Aug. 13, 2020) to represent a class of
                magazine subscribers under the Michigan Preservation of Personal Privacy
                Act,
            44. Desai v. Carnegie Mellon University (W.D. Pa. Aug. 26, 2020) to represent a
                proposed nationwide class of students for tuition and fee refunds after their
                classes were moved online by Carnegie Mellon University due to the novel
                coronavirus, COVID-19,
            45. Heigl v. Waste Management of New York, LLC (E.D.N.Y. Aug. 27, 2020) to
                represent a class of waste collection customers that were allegedly charged
                unlawful paper billing fees,
            46. Stellato v. Hofstra University (E.D.N.Y. Sept. 18, 2020) to represent a
                proposed nationwide class of students for tuition and fee refunds after their
                classes were moved online by Hofstra University due to the novel
                coronavirus, COVID-19,
            47. Kaupelis v. Harbor Freight Tools USA, Inc. (C.D. Cal. Sept. 23, 2020), to
                represent consumers who purchased defective chainsaws,
            48. Soo v. Lorex Corporation (N.D. Cal. Sept. 23, 2020), to represent consumers
                whose security cameras were intentionally rendered non-functional by
                manufacturer,
            49. Miranda v. Golden Entertainment (NV), Inc. (D. Nev. Dec. 17, 2020), to
                represent consumers and employees whose personal information was exposed
                in a data breach,
            50. Benbow v. SmileDirectClub, Inc. (Cir. Ct. Cook Cnty. Feb. 4, 2021), to
                represent a certified nationwide class of individuals who received text
                messages from SmileDirectClub, in alleged violation of the Telephone
                Consumer Protection Act,
            51. Suren v. DSV Solutions, LLC (Cir. Ct. DuPage Cnty. Apr. 8, 2021), to
                represent a certified class of employees who used a fingerprint clock-in
                system, in alleged violation of the Illinois Biometric Information Privacy Act,
            52. De Lacour v. Colgate-Palmolive Co. (S.D.N.Y. Apr. 23, 2021), to represent a
                certified class of consumers who purchased allegedly “natural” Tom’s of
                Maine products,
            53. Wright v. Southern New Hampshire University (D.N.H. Apr. 26, 2021), to
                represent a certified nationwide class of students for tuition and fee refunds
                after their classes were moved online by Southern New Hampshire University
                due to the novel coronavirus, COVID-19,
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            54. Sahlin v. Hospital Housekeeping Systems, LLC (Cir. Ct. Williamson Cnty.
                May 21, 2021), to represent a certified class of employees who used a
                fingerprint clock-in system, in alleged violation of the Illinois Biometric
                Information Privacy Act,
            55. Landreth v. Verano Holdings LLC, et al. (Cir. Ct. Cook Cnty. June 2, 2021),
                to represent a certified class of employees who used a fingerprint clock-in
                system, in alleged violation of the Illinois Biometric Information Privacy Act.
            56. Rocchio v. Rutgers, The State University of New Jersey, (Sup. Ct., Middlesex
                Cnty. October 27, 201), to represent a certified nationwide class of students
                for fee refunds after their classes were moved online by Rutgers due to the
                novel coronavirus, COVID-19,
            57. Malone v. Western Digital Corp., (N.D. Cal. Dec. 22, 2021), to represent a
                class of consumers who purchased hard drives that were allegedly deceptively
                advertised,
            58. Jenkins v. Charles Industries, LLC, (Cir. Ct. DuPage Cnty. Dec. 21, 2021) to
                represent a certified class of employees who used a fingerprint clock-in
                system, in alleged violation of the Illinois Biometric Information Privacy Act,
            59. Frederick v. Examsoft Worldwide, Inc., (Cir. Ct. DuPage Cnty. Jan. 6, 2022)
                to represent a certified class of exam takers who used virtual exam proctoring
                software, in alleged violation of the Illinois Biometric Information Privacy
                Act,
            60. Isaacson v. Liqui-Box Flexibles, LLC, et al., (Cir. Ct. Will Cnty. Jan. 18,
                2022) to represent a certified class of employees who used a fingerprint clock-
                in system, in alleged violation of the Illinois Biometric Information Privacy
                Act,
            61. Goldstein et al. v. Henkel Corp., (D. Conn. Mar. 3, 2022) to represent a
                proposed class of purchasers of Right Guard-brand antiperspirants that were
                allegedly contaminated with benzene,
            62. McCall v. Hercules Corp., (N.Y. Sup. Ct., Westchester Cnty. Mar. 14, 2022)
                to represent a certified class of who laundry card purchasers who were
                allegedly subjected to deceptive practices by being denied cash refunds,
            63. Lewis v. Trident Manufacturing, Inc., (Cir. Ct. Kane Cnty. Mar. 16, 2022) to
                represent a certified class of workers who used a fingerprint clock-in system,
                in alleged violation of the Illinois Biometric Information Privacy Act,
            64. Croft v. Spinx Games Limited, et al., (W.D. Wash. Mar. 31, 2022) to represent
                a certified class of Washington residents who lost money playing mobile
                applications games that allegedly constituted illegal gambling under
                Washington law,
            65. Fischer v. Instant Checkmate LLC, (N.D. Ill. Mar. 31, 2022) to represent a
                certified class of Illinois residents whose identities were allegedly used
                without their consent in alleged violation of the Illinois Right of Publicity Act,
            66. Rivera v. Google LLC, (Cir. Ct. Cook Cnty. Apr. 25, 2022) to represent a
                certified class of Illinois residents who appeared in a photograph in Google
                Photos, in alleged violation of the Illinois Biometric Information Privacy Act,
            67. Loftus v. Outside Integrated Media, LLC, (E.D. Mich. May 5, 2022) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
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            68. D’Amario v. The University of Tampa, (S.D.N.Y. June 3, 2022) to represent a
                certified nationwide class of students for tuition and fee refunds after their
                classes were moved online by The University of Tampa due to the novel
                coronavirus, COVID-19,
            69. Fittipaldi v. Monmouth University, (D.N.J. Sept. 22, 2022) to represent a
                certified nationwide class of students for tuition and fee refunds after their
                classes were moved online by Monmouth University due to the novel
                coronavirus, COVID-19,
            70. Armstead v. VGW Malta Ltd. et al. (Cir. Ct. Henderson Cnty. Oct. 3, 2022) to
                present a certified class of Kentucky residents who lost money playing mobile
                applications games that allegedly constituted illegal gambling under Kentucky
                law,
            71. Cruz v. The Connor Group, A Real Estate Investment Firm, LLC, (N.D. Ill.
                Oct. 26, 2022) to represent a certified class of workers who used a fingerprint
                clock-in system, in alleged violation of the Illinois Biometric Information
                Privacy Act,
            72. Delcid et al. v. TCP HOT Acquisitions LLC et al. (S.D.N.Y. Oct. 28, 2022) to
                represent a certified nationwide class of purchasers of Sure and Brut-brand
                antiperspirants that were allegedly contaminated with benzene,
            73. Kain v. The Economist Newspaper NA, Inc. (E.D. Mich. Dec. 15, 2022) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
            74. Strano v. Kiplinger Washington Editors, Inc. (E.D. Mich. Jan. 6, 2023) to
                represent a class of magazine subscribers under the Michigan Preservation of
                Personal Privacy Act,
            75. Moeller v. The Week Publications, Inc. (E.D. Mich. Jan. 6, 2023) to represent
                a class of magazine subscribers under the Michigan Preservation of Personal
                Privacy Act,
            76. Ambrose v. Boston Globe Media Partners, LLC (D. Mass. May 25, 2023) to
                represent a nationwide class of newspaper subscribers who were also
                Facebook users under the Video Privacy Protection Act,
            77. In re: Apple Data Privacy Litigation, (N.D. Cal. July 5, 2023) to represent a
                putative nationwide class of all persons who turned off permissions for data
                tracking and whose mobile app activity was still tracked on iPhone mobile
                devices,
            78. Young v. Military Advantage, Inc. d/b/a Military.com (Cir. Ct. DuPage Cnty.
                July 26, 2023) to represent a nationwide class of website subscribers who
                were also Facebook users under the Video Privacy Protection Act,
            79. Whiting v. Yellow Social Interactive Ltd. (Cir. Ct. Henderson Cnty. Aug. 15,
                2023) to represent a certified class of Kentucky residents who lost money
                playing mobile applications games that allegedly constituted illegal gambling
                under Kentucky law,
            80. Kotila v. Charter Financial Publishing Network, Inc. (W.D. Mich. Feb. 21,
                2024) to represent a class of magazine subscribers under the Michigan
                Preservation of Personal Privacy Act,
            81. Schreiber v. Mayo Foundation for Medical Education and Research (W.D.
                Mich. Feb. 21, 2024) to represent a class of magazine subscribers under the
                Michigan Preservation of Personal Privacy Act,
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               82. Norcross v. Tishman Speyer Properties, et al. (S.D.N.Y. May 17, 2024) to
                   represent a class of online ticket purchasers under New York Arts & Cultural
                   Affairs Law § 25.07(4).

                                      SCOTT A. BURSOR

       Mr. Bursor has an active civil trial practice, having won multi-million verdicts or
recoveries in six of six civil jury trials since 2008. Mr. Bursor’s most recent victory came in
May 2019 in Perez v. Rash Curtis & Associates, in which Mr. Bursor served as lead trial counsel
and won a $267 million jury verdict against a debt collector for violations of the Telephone
Consumer Protection Act (TCPA).

        In Ayyad v. Sprint Spectrum L.P. (2013), where Mr. Bursor served as lead trial counsel,
the jury returned a verdict defeating Sprint’s $1.06 billion counterclaim and securing the class’s
recovery of more than $275 million in cash and debt relief.

        In Thomas v. Global Vision Products, Inc. (2009), the jury returned a $50 million verdict
in favor of the plaintiff and class represented by Mr. Bursor. The legal trade publication
VerdictSearch reported that this was the second largest jury verdict in California in 2009.

        Class actions are rarely tried to verdict. Other than Mr. Bursor and his partner Mr.
Fisher, we know of no lawyer that has tried more than one class action to a jury. Mr. Bursor’s
perfect record of six wins in six class action jury trials, with recoveries ranging from $21 million
to $299 million, is unmatched by any other lawyer. Each of these victories was hard-fought
against top trial lawyers from the biggest law firms in the United States.

        Mr. Bursor graduated from the University of Texas Law School in 1996. He served as
Articles Editor of the Texas Law Review, and was a member of the Board of Advocates and
Order of the Coif. Prior to starting his own practice, Mr. Bursor was a litigation associate at a
large New York based law firm where he represented telecommunications, pharmaceutical, and
technology companies in commercial litigation.

        Mr. Bursor is a member of the state bars of New York, Florida, and California, as well as
the bars of the United States Court of Appeals for the Second, Third, Fourth, Sixth, Ninth and
Eleventh Circuits, and the bars of the United States District Courts for the Southern and Eastern
Districts of New York, the Northern, Central, Southern and Eastern Districts of California, the
Southern and Middle Districts of Florida, and the Eastern District of Michigan.

                                       Representative Cases

        Mr. Bursor was appointed lead or co-lead class counsel to the largest, 2nd largest, and 3rd
largest classes ever certified. Mr. Bursor has represented classes including more than 160
million class members, roughly 1 of every 2 Americans. Listed below are recent cases that are
representative of Mr. Bursor’s practice:

        Mr. Bursor negotiated and obtained court-approval for two landmark settlements in
Nguyen v. Verizon Wireless and Zill v. Sprint Spectrum (the largest and 2nd largest classes ever
certified). These settlements required Verizon and Sprint to open their wireless networks to
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third-party devices and applications. These settlements are believed to be the most significant
legal development affecting the telecommunications industry since 1968, when the FCC’s
Carterfone decision similarly opened up AT&T’s wireline telephone network.

        Mr. Bursor was the lead trial lawyer in Ayyad v. Sprint Spectrum, L.P. representing a
class of approximately 2 million California consumers who were charged an early termination
fee under a Sprint cellphone contract, asserting claims that such fees were unlawful liquidated
damages under the California Civil Code, as well as other statutory and common law claims.
After a five-week combined bench-and-jury trial, the jury returned a verdict in June 2008 and the
Court issued a Statement of Decision in December 2008 awarding the plaintiffs $299 million in
cash and debt cancellation. Mr. Bursor served as lead trial counsel for this class again in 2013
during a month-long jury trial in which Sprint asserted a $1.06 billion counterclaim against the
class. Mr. Bursor secured a verdict awarding Sprint only $18.4 million, the exact amount
calculated by the class’s damages expert. This award was less than 2% of the damages Sprint
sought, less than 6% of the amount of the illegal termination fees Sprint charged to class
members. In December 2016, after more than 13 years of litigation, the case was settled for
$304 million, including $79 million in cash payments plus $225 million in debt cancellation.

        Mr. Bursor was the lead trial lawyer in White v. Cellco Partnership d/b/a Verizon
Wireless representing a class of approximately 1.4 million California consumers who were
charged an early termination fee under a Verizon cellphone contract, asserting claims that such
fees were unlawful liquidated damages under the California Civil Code, as well as other statutory
and common law claims. In July 2008, after Mr. Bursor presented plaintiffs’ case-in-chief,
rested, then cross-examined Verizon’s principal trial witness, Verizon agreed to settle the case
for a $21 million cash payment and an injunction restricting Verizon’s ability to impose early
termination fees in future subscriber agreements.

        Mr. Bursor was the lead trial lawyer in Thomas v. Global Visions Products Inc. Mr.
Bursor represented a class of approximately 150,000 California consumers who had purchased
the Avacor® hair regrowth system. In January 2008, after a four-week combined bench-and-jury
trial. Mr. Bursor obtained a $37 million verdict for the class, which the Court later increased to
$40 million.

         Mr. Bursor was appointed class counsel and was elected chair of the Official Creditors’
Committee in In re Nutraquest Inc., a Chapter 11 bankruptcy case before Chief Judge Garrett E.
Brown, Jr. (D.N.J.) involving 390 ephedra-related personal injury and/or wrongful death claims,
two consumer class actions, four enforcement actions by governmental agencies, and multiple
adversary proceedings related to the Chapter 11 case. Working closely with counsel for all
parties and with two mediators, Judge Nicholas Politan (Ret.) and Judge Marina Corodemus
(Ret.), the committee chaired by Mr. Bursor was able to settle or otherwise resolve every claim
and reach a fully consensual Chapter 11 plan of reorganization, which Chief Judge Brown
approved in late 2006. This settlement included a $12.8 million recovery to a nationwide class
of consumers who alleged they were defrauded in connection with the purchase of Xenadrine®
dietary supplement products.

         Mr. Bursor was the lead trial lawyer in In re: Pacific Bell Late Fee Litigation. After
filing the first class action challenging Pac Bell's late fees in April 2010, winning a contested
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motion to certify a statewide California class in January 2012, and defeating Pac Bell's motion
for summary judgment in February 2013, Mr. Bursor obtained final approval of the $38 million
class settlement. The settlement, which Mr. Bursor negotiated the night before opening
statements were scheduled to commence, included a $20 million cash payment to provide
refunds to California customers who paid late fees on their Pac Bell wireline telephone accounts,
and an injunction that reduced other late fee charges by $18.6 million.

                                     L. TIMOTHY FISHER

         L. Timothy Fisher has an active practice in consumer class actions and complex business
litigation and has also successfully handled a large number of civil appeals.

        Mr. Fisher has been actively involved in numerous cases that resulted in multi-million
dollar recoveries for consumers and investors. Mr. Fisher has handled cases involving a wide
range of issues including nutritional labeling, health care, telecommunications, corporate
governance, unfair business practices and consumer fraud. With his partner Scott A. Bursor, Mr.
Fisher has tried five class action jury trials, all of which produced successful results. In Thomas
v. Global Vision Products, Mr. Fisher obtained a jury award of $50,024,611 — the largest class
action award in California in 2009 and the second-largest jury award of any kind. In 2019, Mr.
Fisher served as trial counsel with Mr. Bursor in Perez. v. Rash Curtis & Associates, where the
jury returned a verdict for $267 million in statutory damages under the Telephone Consumer
Protection Act.

        Mr. Fisher was admitted to the State Bar of California in 1997. He is also a member of
the bars of the United States Court of Appeals for the Ninth Circuit, the United States District
Courts for the Northern, Central, Southern and Eastern Districts of California, the Northern
District of Illinois, the Eastern District of Michigan, and the Eastern District of Missouri. Mr.
Fisher taught appellate advocacy at John F. Kennedy University School of Law in 2003 and
2004. In 2010, he contributed jury instructions, a verdict form and comments to the consumer
protection chapter of Justice Elizabeth A. Baron’s California Civil Jury Instruction Companion
Handbook (West 2010). In January 2014, Chief Judge Claudia Wilken of the United States
District Court for the Northern District of California appointed Mr. Fisher to a four-year term as
a member of the Court’s Standing Committee on Professional Conduct.

        Mr. Fisher received his Juris Doctor from Boalt Hall at the University of California at
Berkeley in 1997. While in law school, he was an active member of the Moot Court Board and
participated in moot court competitions throughout the United States. In 1994, Mr. Fisher
received an award for Best Oral Argument in the first-year moot court competition.

        In 1992, Mr. Fisher graduated with highest honors from the University of California at
Berkeley and received a degree in political science. Prior to graduation, he authored an honors
thesis for Professor Bruce Cain entitled “The Role of Minorities on the Los Angeles City
Council.” He is also a member of Phi Beta Kappa.
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                                        Representative Cases

Thomas v. Global Vision Products, Inc. (Alameda County Superior Court). Mr. Fisher litigated
claims against Global Vision Products, Inc. and other individuals in connection with the sale and
marketing of a purported hair loss remedy known as Avacor. The case lasted more than seven
years and involved two trials. The first trial resulted in a verdict for plaintiff and the class in the
amount of $40,000,000. The second trial resulted in a jury verdict of $50,024,611, which led to
a $30 million settlement for the class.

In re Cellphone Termination Fee Cases - Handset Locking Actions (Alameda County Superior
Court). Mr. Fisher actively worked on five coordinated cases challenging the secret locking of
cell phone handsets by major wireless carriers to prevent consumers from activating them on
competitive carriers’ systems. Settlements have been approved in all five cases on terms that
require the cell phone carriers to disclose their handset locks to consumers and to provide
unlocking codes nationwide on reasonable terms and conditions. The settlements fundamentally
changed the landscape for cell phone consumers regarding the locking and unlocking of cell
phone handsets.

In re Cellphone Termination Fee Cases - Early Termination Fee Cases (Alameda County
Superior Court and Federal Communications Commission). In separate cases that are a part of
the same coordinated litigation as the Handset Locking Actions, Mr. Fisher actively worked on
claims challenging the validity under California law of early termination fees imposed by
national cell phone carriers. In one of those cases, against Verizon Wireless, a nationwide
settlement was reached after three weeks of trial in the amount of $21 million. In a second case,
which was tried to verdict, the Court held after trial that the $73 million of flat early termination
fees that Sprint had collected from California consumers over an eight-year period were void and
unenforceable.

                                   Selected Published Decisions

Melgar v. Zicam LLC, 2016 WL 1267870 (E.D. Cal. Mar. 30, 2016) (certifying 10-jurisdiction
class of purchasers of cold remedies, denying motion for summary judgment, and denying
motions to exclude plaintiff’s expert witnesses).
Salazar v. Honest Tea, Inc., 2015 WL 7017050 (E.D. Cal. Nov. 12. 2015) (denying motion for
summary judgment).
Dei Rossi v. Whirlpool Corp., 2015 WL 1932484 (E.D. Cal. Apr. 27, 2015) (certifying California
class of purchasers of refrigerators that were mislabeled as Energy Star qualified).
Bayol v. Zipcar, Inc., 78 F.Supp.3d 1252 (N.D. Cal. 2015) (denying motion to dismiss claims
alleging unlawful late fees under California Civil Code § 1671).
Forcellati v. Hyland’s, Inc., 2015 WL 9685557 (C.D. Cal. Jan. 12, 2015) (denying motion for
summary judgment in case alleging false advertising of homeopathic cold and flu remedies for
children).
Bayol v. Zipcar, Inc., 2014 WL 4793935 (N.D. Cal. Sept. 25, 2014) (denying motion to transfer
venue pursuant to a forum selection clause).
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Forcellati v. Hyland’s Inc., 2014 WL 1410264 (C.D. Cal. Apr. 9, 2014) (certifying nationwide
class of purchasers of homeopathic cold and flu remedies for children).
Hendricks v. StarKist Co., 30 F.Supp.3d 917 (N.D. Cal. 2014) (denying motion to dismiss in
case alleging underfilling of 5-ounce cans of tuna).
Dei Rossi v. Whirlpool Corp., 2013 WL 5781673 (E.D. Cal. October 25, 2013) (denying motion
to dismiss in case alleging that certain KitchenAid refrigerators were misrepresented as Energy
Star qualified).
Forcellati v. Hyland’s Inc., 876 F.Supp.2d 1155 (C.D. Cal. 2012) (denying motion to dismiss
complaint alleging false advertising regarding homeopathic cold and flu remedies for children).
Clerkin v. MyLife.com, 2011 WL 3809912 (N.D. Cal. August 29, 2011) (denying defendants’
motion to dismiss in case alleging false and misleading advertising by a social networking
company).
In re Cellphone Termination Fee Cases, 186 Cal.App.4th 1380 (2010) (affirming order
approving $21 million class action settlement).
Gatton v. T-Mobile USA, Inc., 152 Cal.App.4th 571 (2007) (affirming order denying motion to
compel arbitration).
                                    Selected Class Settlements
Melgar v. Zicam (Eastern District of California) - $16 million class settlement of claims alleging
cold medicine was ineffective.

Gastelum v. Frontier California Inc. (San Francisco Superior Court) - $10.9 million class action
settlement of claims alleging that a residential landline service provider charged unlawful late
fees.

West v. California Service Bureau, Inc. (Northern District of California) - $4.1 million class
settlement of claims under the Telephone Consumer Protection Act.

Gregorio v. Premier Nutrition Corp. (Southern District of New York) - $9 million class
settlement of false advertising claims against protein shake manufacturer.

Morris v. SolarCity Corp. (Northern District of California) - $15 million class settlement of
claims under the Telephone Consumer Protection Act.

Retta v. Millennium Products, Inc. (Central District of California) - $8.25 million settlement to
resolve claims of bottled tea purchasers for alleged false advertising.

Forcellati v. Hyland’s (Central District of California) – nationwide class action settlement
providing full refunds to purchasers of homeopathic cold and flu remedies for children.

Dei Rossi v. Whirlpool (Eastern District of California) – class action settlement providing $55
cash payments to purchasers of certain KitchenAid refrigerators that allegedly mislabeled as
Energy Star qualified.

In Re NVIDIA GTX 970 Graphics Chip Litigation (Northern District of California) - $4.5 million
class action settlement of claims alleging that a computer graphics card was sold with false and
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misleading representations concerning its specifications and performance.

Hendricks v. StarKist Co. (Northern District of California) – $12 million class action settlement
of claims alleging that 5-ounce cans of tuna were underfilled.

In re Zakskorn v. American Honda Motor Co. Honda (Eastern District of California) –
nationwide settlement providing for brake pad replacement and reimbursement of out-of-pocket
expenses in case alleging defective brake pads on Honda Civic vehicles manufactured between
2006 and 2011.

Correa v. Sensa Products, LLC (Los Angeles Superior Court) - $9 million settlement on behalf
of purchasers of the Sensa weight loss product.

In re Pacific Bell Late Fee Litigation (Contra Costa County Superior Court) - $38.6 million
settlement on behalf of Pac Bell customers who paid an allegedly unlawful late payment charge.

In re Haier Freezer Consumer Litigation (Northern District of California) - $4 million
settlement, which provided for cash payments of between $50 and $325.80 to class members
who purchased the Haier HNCM070E chest freezer.

Thomas v. Global Vision Products, Inc. (Alameda County Superior Court) - $30 million
settlement on behalf of a class of purchasers of a hair loss remedy.

Guyette v. Viacom, Inc. (Alameda County Superior Court) - $13 million settlement for a class of
cable television subscribers who alleged that the defendant had improperly failed to share certain
tax refunds with its subscribers.

                                    JOSEPH I. MARCHESE

        Joseph I. Marchese is a Partner with Bursor & Fisher, P.A. Joe focuses his practice on
consumer class actions, employment law disputes, and commercial litigation. He has
represented corporate and individual clients in a wide array of civil litigation, and has substantial
trial and appellate experience.

        Joe has diverse experience in litigating and resolving consumer class actions involving
claims of mislabeling, false or misleading advertising, privacy violations, unlawful and junk fees,
data breach claims, and violations of the Telephone Consumer Protection Act and
Servicemembers Civil Relief Act.

       Joe also has significant experience in multidistrict litigation proceedings. Recently, he
served on the Plaintiffs’ Executive Committee in In Re: Blue Buffalo Company, Ltd. Marketing
And Sales Practices Litigation, MDL No. 2562, which resulted in a $32 million consumer class
settlement. Currently, he serves on the Plaintiffs’ Steering Committee for Economic
Reimbursement in In Re: Valsartan Products Liability Litigation, MDL. No. 2875.

       Joe is admitted to the State Bar of New York and is a member of the bars of the United
States District Courts for the Southern District of New York, the Eastern District of New York,
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and the Eastern District of Michigan, as well as the United States Courts of Appeals for the First,
Second and Sixth Circuits.

      Joe graduated from Boston University School of Law in 2002 where he was a member of
The Public Interest Law Journal. In 1998, Joe graduated with honors from Bucknell University.

                                  Selected Published Decisions:

Farwell v. Google, LLC, 595 F. Supp. 3d 702 (C.D. Ill. Mar. 31, 2022), denying defendant’s
motion to dismiss BIPA claims brought on behalf of Illinois students using Google’s Workspace
for Education platform.

Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. Sept. 7, 2017), granting
plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
action.

Boelter v. Hearst Communications, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. June 17, 2016), denying
publisher’s motion to dismiss its subscriber’s allegations of state privacy law violations in
putative class action.

In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
false advertising and other claims brought by New York and California purchasers of grass seed
product.

Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported “100%
Pure Olive Oil” product.

In re Michaels Stores Pin Pad Litigation, 830 F. Supp. 2d 518 (N.D. Ill. 2011), denying retailer’s
motion to dismiss its customers’ state law consumer protection and privacy claims in data breach
putative class action.

                                   Selected Class Settlements:

Schreiber v. Mayo Foundation, Case No. 22-cv-0188-HYJ-RSK (W.D. Mich. 2024) – final
approval granted for $52.5 million class settlement to resolve claims of periodical subscribers for
alleged statutory privacy violations.

Edwards v. Mid-Hudson Valley Federal Credit Union, Case No. 22-cv-00562-TJM-CFH
(N.D.N.Y. 2023) – final approval granted for $2.2 million class settlement to resolve claims
alleging unlawfully charged overdraft fees on accounts with sufficient funds.

Benbow v. SmileDirectClub, LLC, Case No. 2020-CH-07269 (Cir. Ct. Cook Cnty. 2022) – final
approval granted for $11.5 million class settlement to resolve claims for alleged TCPA
violations.
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Marquez v. Google LLC, Case No. 2021-CH-1460 (Cir. Ct. Cook Cnty. 2022) – final approval
granted for $100 million class settlement to resolve alleged BIPA violations of Illinois residents
appearing on the Google Photos platform.

Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
approval granted for $50 million class settlement to resolve claims of magazine subscribers for
alleged statutory privacy violations.

Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
(S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
magazine subscribers for alleged statutory privacy violations.

In re Scotts EZ Seed Litigation, Case No. 12-cv-4727-VB (S.D.N.Y. 2018) – final approval
granted for $47 million class settlement to resolve false advertising claims of purchasers of
combination grass seed product.

In Re: Blue Buffalo Marketing And Sales Practices Litigation, Case No. 14-MD-2562-RWS
(E.D. Mo. 2016) – final approval granted for $32 million class settlement to resolve claims of pet
owners for alleged false advertising of pet foods.

Rodriguez v. Citimortgage, Inc., Case No. 11-cv-4718-PGG (S.D.N.Y. 2015) – final approval
granted for $38 million class settlement to resolve claims of military servicemembers for alleged
foreclosure violations of the Servicemembers Civil Relief Act, where each class member was
entitled to $116,785 plus lost equity in the foreclosed property and interest thereon.

O’Brien v. LG Electronics USA, Inc., et al., Case No. 10-cv-3733-DMC (D.N.J. 2011) – final
approval granted for $23 million class settlement to resolve claims of Energy Star refrigerator
purchasers for alleged false advertising of the appliances’ Energy Star qualification.

                                      SARAH N. WESTCOT

       Sarah N. Westcot is the Managing Partner of Bursor & Fisher’s Miami office. She
focuses her practice on consumer class actions, complex business litigation, and mass torts.

        She has represented clients in a wide array of civil litigation, and has substantial trial and
appellate experience. Sarah served as trial counsel in Ayyad v. Sprint Spectrum L.P., where
Bursor & Fisher won a jury verdict defeating Sprint’s $1.06 billion counterclaim and securing
the class’s recovery of more than $275 million in cash and debt relief.

        Sarah also has significant experience in high-profile, multi-district litigations. She
currently serves on the Plaintiffs’ Steering Committee in In re Zantac (Ranitidine) Products
Liability Litigation, MDL No. 2924 (S.D. Florida). She also serves on the Plaintiffs’ Executive
Committee in In re Apple Inc. App Store Simulated Casino-Style Games Litigation, MDL No.
2985 (N.D. Cal.) and In Re: Google Play Store Simulated Casino-Style Games Litigation, MDL
No. 3001 (N.D. Cal.).
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        Sarah is admitted to the State Bars of California and Florida, and is a member of the bars
of the United States District Courts for the Northern, Central, Southern, and Eastern Districts of
California, the United States District Courts for the Southern and Middle Districts of Florida, and
the bars of the United States Courts of Appeals for the Second, Eighth, and Ninth Circuits.

        Sarah received her Juris Doctor from the University of Notre Dame Law School in 2009.
During law school, she was a law clerk with the Cook County State’s Attorney’s Office in
Chicago and the Santa Clara County District Attorney’s Office in San Jose, CA, gaining early
trial experience in both roles. She graduated with honors from the University of Florida in 2005.

       Sarah is a member of The National Trial Lawyers Top 100 Civil Plaintiff Lawyers, and
was selected to The National Trial Lawyers Top 40 Under 40 Civil Plaintiff Lawyers for 2022.

                                     JOSHUA D. ARISOHN

         Joshua D. Arisohn is a Partner with Bursor & Fisher, P.A. Josh has litigated precedent-
setting cases in the areas of consumer class actions and terrorism. He participated in the first ever
trial to take place under the Anti-Terrorism Act, a statute that affords U.S. citizens the right to
assert federal claims for injuries arising out of acts of international terrorism. Josh’s practice
continues to focus on terrorism-related matters as well as class actions.

       Josh is admitted to the State Bar of New York and is a member of the bars of the United
States District Courts for the Southern District of New York, the Eastern District of New York,
the District Court for the District of Columbia, and the United States Courts of Appeals for the
Second and Ninth Circuits.

       Josh previously practiced at Dewey & LeBoeuf LLP and DLA Piper LLP. He graduated
from Columbia University School of Law in 2006, where he was a Harlan Fiske Stone Scholar,
and received his B.A. from Cornell University in 2002. Josh has been honored as a 2015, 2016
and 2017 Super Lawyer Rising Star.

                                  Selected Published Decisions:

Fields v. Syrian Arab Republic, Civil Case No. 18-1437 (RJL), entering a judgment of
approximately $850 million in favor of the family members of victims of terrorist attacks carried
out by ISIS with the material support of Syria.

Farwell v. Google LLC, 2022 WL 1568361 (C.D. Ill. Mar. 31, 2022), denying social media
defendant’s motion to dismiss BIPA claims brought on behalf of Illinois school students using
Google’s Workspace for Education platform on laptop computers.

Weiman v. Miami University, Case No. 2020-00614JD (Oh. Ct. Claims), certifying a class of
students alleging a breach of contract based on their school’s failure to provide a full semester of
in-person classes.
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Smith v. The Ohio State University, Case No. 2020-00321JD (Oh. Ct. Claims), certifying a class
of students alleging a breach of contract based on their school’s failure to provide a full semester
of in-person classes.

Waitt v. Kent State University, Case No. 2020-00392JD (Oh. Ct. Claims), certifying a class of
students alleging a breach of contract based on their school’s failure to provide a full semester of
in-person classes.

Duke v. Ohio University, Case No. 2021-00036JD (Oh. Ct. Claims), certifying a class of students
alleging a breach of contract based on their school’s failure to provide a full semester of in-
person classes.

Keba v. Bowling Green State University, Case No. 2020-00639JD (Oh. Ct. Claims), certifying a
class of students alleging a breach of contract based on their school’s failure to provide a full
semester of in-person classes.

Kirkbride v. The Kroger Co., Case No. 2:21-cv-00022-ALM-EPD, denying motion to dismiss
claims based on the allegation that defendant overstated its usual and customary prices and
thereby overcharged customers for generic drugs.

                                   Selected Class Settlements:

Morris v. SolarCity Corp., Case No. 3:15-cv-05107-RS (N.D. Cal.) - final approval granted for
$15 million class settlement to resolve claims under the Telephone Consumer Protection Act
(“TCPA”), 47 U.S.C. § 227 et seq.

Marquez v. Google LLC, Case No. 2021-CH-1460 (Cir. Ct. Cook Cnty. 2022) – final approval
granted for $100 million class settlement to resolve alleged BIPA violations of Illinois residents
appearing in photos on the Google Photos platform.

                                      NEAL J. DECKANT

       Neal J. Deckant is a Partner with Bursor & Fisher, P.A., where he serves as the firm's
Head of Information & e-Discovery. Neal focuses his practice on complex business litigation
and consumer class actions. Prior to joining Bursor & Fisher, Neal counseled low-income
homeowners facing foreclosure in East Boston.

        Neal is admitted to the State Bars of California and New York, and is a member of the
bars of the United States District Court for the Northern District of California, the United States
District Court for the Eastern District of California, the United States District Court for the
Central District of California, the United States District Court for the Southern District of
California, the United States District Court for the Southern District of New York, the United
States District Court for the Eastern District of New York, and the bars of the United States
Courts of Appeals for the Second and Ninth Circuits.

       Neal received his Juris Doctor from Boston University School of Law in 2011,
graduating cum laude with two Dean’s Awards. During law school, Neal served as a Senior
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Articles Editor for the Review of Banking and Financial Law, where he authored two published
articles about securitization reforms, both of which were cited by the New York Court of
Appeals, the highest court in the state. Neal was also awarded Best Oral Argument in his moot
court section, and he served as a Research Assistant for his Securities Regulation professor.
Neal has also been honored as a 2014, 2015, 2016, and 2017 Super Lawyers Rising Star. In
2007, Neal graduated with Honors from Brown University with a dual major in East Asian
Studies and Philosophy.

                                 Selected Published Decisions:

Martinelli v. Johnson & Johnson, 2019 WL 1429653 (N.D. Cal. Mar. 29, 2019), granting class
certification of false advertising and other claims brought by purchasers of Benecol spreads
labeled with the representation “No Trans Fats.”

Dzielak v. Whirlpool Corp., 2017 WL 6513347 (D.N.J. Dec. 20, 2017), granting class
certification of consumer protection claims brought by purchasers of Maytag Centennial washing
machines marked with the “Energy Star” logo.

Duran v. Obesity Research Institute, LLC, 204 Cal. Rptr. 3d 896 (Cal. Ct. App. 2016), reversing
and remanding final approval of a class action settlement on appeal, regarding allegedly
mislabeled dietary supplements, in connection with a meritorious objection.

Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting
individual and law firm defendants’ motion for judgment as a matter of law on plaintiff’s claims
for retaliation and defamation, as well as for all claims against law firm partners, Nadeem and
Lubna Faruqi.

Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported “100%
Pure Olive Oil” product.

Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
motion for summary judgment against nationwide class of purchasers of purported “100% Pure
Olive Oil” product.

                                   Selected Class Settlements:

In Re NVIDIA GTX 970 Graphics Chip Litigation, Case No. 15-cv-00760-PJH (N.D. Cal. Dec. 7,
2016) – final approval granted for $4.5 million class action settlement to resolve claims that a
computer graphics card was allegedly sold with false and misleading representations concerning
its specifications and performance.

Hendricks v. StarKist Co., 2016 WL 5462423 (N.D. Cal. Sept. 29, 2016) – final approval granted
for $12 million class action settlement to resolve claims that 5-ounce cans of tuna were allegedly
underfilled.
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In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014) – class action
claims resolved for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
defendant filed for bankruptcy, following claims that its olive oil was allegedly sold with false
and misleading representations.

                                     Selected Publications:

Neal Deckant, X. Reforms of Collateralized Debt Obligations: Enforcement, Accounting and
Regulatory Proposals, 29 Rev. Banking & Fin. L. 79 (2009) (cited in Quadrant Structured
Products Co., Ltd. v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014)).

Neal Deckant, Criticisms of Collateralized Debt Obligations in the Wake of the Goldman Sachs
Scandal, 30 Rev. Banking & Fin. L. 407 (2010) (cited in Quadrant Structured Products Co., Ltd.
v. Vertin, 16 N.E.3d 1165, 1169 n.8 (N.Y. 2014); Lyon Village Venetia, LLC v. CSE Mortgage
LLC, 2016 WL 476694, at *1 n.1 (Md. Ct. Spec. App. Feb. 4, 2016); Ivan Ascher, Portfolio
Society: On the Capitalist Mode of Prediction, at 141, 153, 175 (Zone Books / The MIT Press
2016); Devon J. Steinmeyer, Does State National Bank of Big Spring v. Geithner Stand a
Fighting Chance?, 89 Chi.-Kent. L. Rev. 471, 473 n.13 (2014)).

                                     YITZCHAK KOPEL

       Yitzchak Kopel is a Partner with Bursor & Fisher, P.A. Yitz focuses his practice on
consumer class actions and complex business litigation. He has represented corporate and
individual clients before federal and state courts, as well as in arbitration proceedings.

        Yitz has substantial experience in successfully litigating and resolving consumer class
actions involving claims of consumer fraud, data breaches, and violations of the telephone
consumer protection act. Since 2014, Yitz has obtained class certification on behalf of his clients
five times, three of which were certified as nationwide class actions. Bursor & Fisher was
appointed as class counsel to represent the certified classes in each of the cases.

        Yitz is admitted to the State Bars of New York and New Jersey, the bar of the United
States Court of Appeals for the Second, Eleventh, and Ninth Circuits, and the bars of the United
States District Courts for the Southern District of New York, Eastern District of New York,
Eastern District of Missouri, Eastern District of Wisconsin, Northern District of Illinois, and
District of New Jersey.

       Yitz received his Juris Doctorate from Brooklyn Law School in 2012, graduating cum
laude with two Dean’s Awards. During law school, Yitz served as an Articles Editor for the
Brooklyn Law Review and worked as a Law Clerk at Shearman & Sterling. In 2009, Yitz
graduated cum laude from Queens College with a B.A. in Accounting.

                                 Selected Published Decisions:

Bassaw v. United Industries Corp., 482 F.Supp.3d 80, 2020 WL 5117916 (S.D.N.Y. Aug. 31,
2020), denying motion to dismiss claims in putative class action concerning insect foggers.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 25 of 39 PageID #:1967
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Poppiti v. United Industries Corp., 2020 WL 1433642 (E.D. Mo. Mar. 24, 2020), denying
motion to dismiss claims in putative class action concerning citronella candles.

Bakov v. Consolidated World Travel, Inc., 2019 WL 6699188 (N.D. Ill. Dec. 9, 2019), granting
summary judgment on behalf of certified class in robocall class action.

Krumm v. Kittrich Corp., 2019 WL 6876059 (E.D. Mo. Dec. 17, 2019), denying motion to
dismiss claims in putative class action concerning mosquito repellent.

Crespo v. S.C. Johnson & Son, Inc., 394 F. Supp. 3d 260 (S.D.N.Y. 2019), denying defendant’s
motion to dismiss fraud and consumer protection claims in putative class action regarding Raid
insect fogger.

Bakov v. Consolidated World Travel, Inc., 2019 WL 1294659 (N.D. Ill. Mar. 21, 2019),
certifying a class of persons who received robocalls in the state of Illinois.

Bourbia v. S.C. Johnson & Son, Inc., 375 F. Supp. 3d 454 (S.D.N.Y. 2019), denying defendant’s
motion to dismiss fraud and consumer protection claims in putative class action regarding
mosquito repellent.

Hart v. BHH, LLC, 323 F. Supp. 3d 560 (S.D.N.Y. 2018), denying defendants’ motion for
summary judgment in certified class action involving the sale of ultrasonic pest repellers.

Hart v. BHH, LLC, 2018 WL 3471813 (S.D.N.Y. July 19, 2018), denying defendants’ motion to
exclude plaintiffs’ expert in certified class action involving the sale of ultrasonic pest repellers.

Penrose v. Buffalo Trace Distillery, Inc., 2018 WL 2334983 (E.D. Mo. Feb. 5, 2018), denying
bourbon producers’ motion to dismiss fraud and consumer protection claims in putative class
action.

West v. California Service Bureau, Inc., 323 F.R.D. 295 (N.D. Cal. 2017), certifying a
nationwide class of “wrong-number” robocall recipients.

Hart v. BHH, LLC, 2017 WL 2912519 (S.D.N.Y. July 7, 2017), certifying nationwide class of
purchasers of ultrasonic pest repellers.

Browning v. Unilever United States, Inc., 2017 WL 7660643 (C.D. Cal. Apr. 26, 2017), denying
motion to dismiss fraud and warranty claims in putative class action concerning facial scrub
product.

Brenner v. Procter & Gamble Co., 2016 WL 8192946 (C.D. Cal. Oct. 20, 2016), denying motion
to dismiss warranty and consumer protection claims in putative class action concerning baby
wipes.

Hewlett v. Consolidated World Travel, Inc., 2016 WL 4466536 (E.D. Cal. Aug. 23, 2016),
denying telemarketer’s motion to dismiss TCPA claims in putative class action.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 26 of 39 PageID #:1968
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Bailey v. KIND, LLC, 2016 WL 3456981 (C.D. Cal. June 16, 2016), denying motion to dismiss
fraud and warranty claims in putative class action concerning snack bars.

Hart v. BHH, LLC, 2016 WL 2642228 (S.D.N.Y. May 5, 2016) denying motion to dismiss
warranty and consumer protection claims in putative class action concerning ultrasonic pest
repellers.

Marchuk v. Faruqi & Faruqi, LLP, et al., 100 F. Supp. 3d 302 (S.D.N.Y. 2015), granting clients’
motion for judgment as a matter of law on claims for retaliation and defamation in employment
action.

In re Scotts EZ Seed Litigation, 304 F.R.D. 397 (S.D.N.Y. 2015), granting class certification of
false advertising and other claims brought by New York and California purchasers of grass seed
product.

Brady v. Basic Research, L.L.C., 101 F. Supp. 3d 217 (E.D.N.Y. 2015), denying diet pill
manufacturers’ motion to dismiss its purchasers’ allegations for breach of express warranty in
putative class action.

Ward v. TheLadders.com, Inc., 3 F. Supp. 3d 151 (S.D.N.Y. 2014), denying online job board’s
motion to dismiss its subscribers’ allegations of consumer protection law violations in putative
class action.

Ebin v. Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014), granting nationwide class
certification of false advertising and other claims brought by purchasers of purported “100%
Pure Olive Oil” product.

Ebin v. Kangadis Food Inc., 2014 WL 737878 (S.D.N.Y. Feb. 25, 2014), denying distributor’s
motion for summary judgment against nationwide class of purchasers of purported “100% Pure
Olive Oil” product.

                                   Selected Class Settlements:

Hart v. BHH, LLC, Case No. 1:15-cv-04804 (S.D.N.Y. Sept. 22, 2020), resolving class action
claims regarding ultrasonic pest repellers.

In re: Kangadis Food Inc., Case No. 8-14-72649 (Bankr. E.D.N.Y. Dec. 17, 2014), resolving
class action claims for $2 million as part of a Chapter 11 plan of reorganization, after a corporate
defendant filed for bankruptcy following the certification of nationwide claims alleging that its
olive oil was sold with false and misleading representations.

West v. California Service Bureau, Case No. 4:16-cv-03124-YGR (N.D. Cal. Jan. 23, 2019),
resolving class action claims against debt-collector for wrong-number robocalls for $4.1 million.

                                     PHILIP L. FRAIETTA
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 27 of 39 PageID #:1969
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       Philip L. Fraietta is a Partner with Bursor & Fisher, P.A. Phil focuses his practice on data
privacy, complex business litigation, consumer class actions, and employment law disputes. Phil
has been named a “Rising Star” in the New York Metro Area by Super Lawyers® every year
since 2019.

        Phil has significant experience in litigating consumer class actions, particularly those
involving privacy claims under statutes such as the Michigan Preservation of Personal Privacy
Act, the Illinois Biometric Information Privacy Act, and Right of Publicity statutes. Since 2016,
Phil has recovered over $100 million for class members in privacy class action settlements. In
addition to privacy claims, Phil has significant experience in litigating and settling class action
claims involving false or misleading advertising.

       Phil is admitted to the State Bars of New York, New Jersey, Illinois, Michigan, and
California, the bars of the United States District Courts for the Southern District of New York,
the Eastern District of New York, the Western District of New York, the Northern District of
New York, the District of New Jersey, the Eastern District of Michigan, the Western District of
Michigan, the Northern District of Illinois, the Central District of Illinois, and the United States
Court of Appeals for the Second, Third, and Ninth Circuits. Phil was a Summer Associate with
Bursor & Fisher prior to joining the firm.

       Phil received his Juris Doctor from Fordham University School of Law in 2014,
graduating cum laude. During law school, Phil served as an Articles & Notes Editor for the
Fordham Law Review, and published two articles. In 2011, Phil graduated cum laude from
Fordham University with a B.A. in Economics.

                                  Selected Published Decisions:

Fischer v. Instant Checkmate LLC, 2022 WL 971479 (N.D. Ill. Mar. 31, 2022), certifying class
of Illinois residents for alleged violations of Illinois’ Right of Publicity Act by background
reporting website.

Kolebuck-Utz v. Whitepages Inc., 2021 WL 157219 (W.D. Wash. Apr. 22, 2021), denying
defendant’s motion to dismiss for alleged violations of Ohio’s Right to Publicity Law.

Bergeron v. Rochester Institute of Technology, 2020 WL 7486682 (W.D.N.Y. Dec. 18, 2020),
denying university’s motion to dismiss for failure to refund tuition and fees for the Spring 2020
semester in light of the COVID-19 pandemic.

Porter v. NBTY, Inc., 2019 WL 5694312 (N.D. Ill. Nov. 4, 2019), denying supplement
manufacturer’s motion for summary judgment on consumers’ allegations of false advertising
relating to whey protein content.

Boelter v. Hearst Communications, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017), granting
plaintiff’s motion for partial summary judgment on state privacy law violations in putative class
action.

                                    Selected Class Settlements:
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 28 of 39 PageID #:1970
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Edwards v. Hearst Communications, Inc., Case No. 15-cv-09279-AT (S.D.N.Y. 2019) – final
approval granted for $50 million class settlement to resolve claims of magazine subscribers for
alleged statutory privacy violations.

Ruppel v. Consumers Union of United States, Inc., Case No. 16-cv-02444-KMK (S.D.N.Y.
2018) – final approval granted for $16.375 million class settlement to resolve claims of magazine
subscribers for alleged statutory privacy violations.

Moeller v. Advance Magazine Publishers, Inc. d/b/a Condé Nast, Case No. 15-cv-05671-NRB
(S.D.N.Y. 2019) – final approval granted for $13.75 million class settlement to resolve claims of
magazine subscribers for alleged statutory privacy violations.

Benbow v. SmileDirectClub, LLC, Case No. 2020-CH-07269 (Cir. Ct. Cook Cnty. 2021) – final
approval granted for $11.5 million class settlement to resolve claims for alleged TCPA
violations.

Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
approval granted for $9 million class settlement to resolve claims of protein shake purchasers for
alleged false advertising.

Taylor v. Trusted Media Brands, Inc., Case No. 16-cv-01812-KMK (S.D.N.Y. 2018) – final
approval granted for $8.225 million class settlement to resolve claims of magazine subscribers
for alleged statutory privacy violations.

Moeller v. American Media, Inc., Case No. 16-cv-11367-JEL (E.D. Mich. 2017) – final approval
granted for $7.6 million class settlement to resolve claims of magazine subscribers for alleged
statutory privacy violations.

Rocchio v. Rutgers, The State University of New Jersey, Case No. MID-L-003039-20 (Sup. Ct.
Middlesex Cnty. 2022) – final approval granted for $5 million class settlement to resolve claims
for failure to refund mandatory fees for the Spring 2020 semester in light of the COVID-19
pandemic.

Heigl v. Waste Management of New York, LLC, Case No. 19-cv-05487-WFK-ST (E.D.N.Y.
2021) – final approval granted for $2.7 million class settlement to resolve claims for charging
allegedly unlawful fees pertaining to paper billing.

Frederick v. Examsoft Worldwide, Inc., Case No. 2021L001116 (Cir. Ct. DuPage Cnty. 2022) –
final approval granted for $2.25 million class settlement to resolve claims for alleged BIPA
violations.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 29 of 39 PageID #:1971
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                                       ALEC M. LESLIE

        Alec Leslie is a Partner with Bursor & Fisher, P.A. He focuses his practice on consumer
class actions, employment law disputes, and complex business litigation.

       Alec is admitted to the State Bar of New York and is a member of the bar of the United
States District Courts for the Southern and Eastern Districts of New York. Alec was a Summer
Associate with Bursor & Fisher prior to joining the firm.

       Alec received his Juris Doctor from Brooklyn Law School in 2016, graduating cum
laude. During law school, Alec served as an Articles Editor for Brooklyn Law Review. In
addition, Alec served as an intern to the Honorable James C. Francis for the Southern District of
New York and the Honorable Vincent Del Giudice, Supreme Court, Kings County. Alec
graduated from the University of Colorado with a B.A. in Philosophy in 2012.

                                   Selected Class Settlements:

Gregorio v. Premier Nutrition Corp., Case No. 17-cv-05987-AT (S.D.N.Y. 2019) – final
approval granted for class settlement to resolve claims of protein shake purchasers for alleged
false advertising.

Wright v. Southern New Hampshire Univ., Case No. 1:20-cv-00609-LM (D.N.H. 2021) – final
approval granted for class settlement to resolve claims over COVID-19 tuition and fee refunds to
students.

Mendoza et al. v. United Industries Corp., Case No. 21PH-CV00670 (Phelps Cnty. Mo. 2021) –
final approval granted for class settlement to resolve false advertising claims on insect repellent
products.

Kaupelis v. Harbor Freight Tools USA, Inc., Case No. 8:19-cv-01203-JVS-DFM (C.D. Cal.
2021) – final approval granted for class settlement involving allegedly defective and dangerous
chainsaws.

Rocchio v. Rutgers Univ., Case No. MID-L-003039-20 (Middlesex Cnty. N.J. 2021) – final
approval granted for class settlement to resolve claims over COVID-19 fee refunds to students.

Malone v. Western Digital Corporation, Case No. 5:20-cv-03584-NC (N.D. Cal.) – final
approval granted for class settlement to resolve false advertising claims on hard drive products.

Frederick et al. v. ExamSoft Worldwide, Inc., Case No. 2021L001116 (DuPage Cnty. Ill. 2021) –
final approval granted for class settlement to resolve claims over alleged BIPA violations with
respect to exam proctoring software.

D’Amario et al. v. Univ. of Tampa, Case No. 7:20-cv-07344 (S.D.N.Y. 2022) – final approval
granted for class settlement to resolve claims over COVID-19 fee refunds to students.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 30 of 39 PageID #:1972
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Olin et al. v. Meta Platforms, Inc., Case No. 3:18-cv-01881-RS (N.D. Cal. 2022) – final approval
granted for class settlement involving invasion of privacy claims.

Croft v. SpinX Games et al., Case No. 2:20-cv-01310-RSM (W.D. Wash. 2022) – final approval
granted for class settlement involving allegedly deceptive and/or illegal gambling practices.

Armstead v. VGW Malta Ltd. et al., Case No. 22-CI-00553 (Henderson Cnty. Ky. 2023) – final
approval granted for class settlement involving allegedly deceptive and/or illegal gambling
practices.

Barbieri v. Tailored Brands, Inc., Index No. 616696/2022 (Nassau Cnty. N.Y.) – final approval
granted for class settlement involving untimely wage payments to employees.

Metzner et al. v. Quinnipiac Univ., Case No. 3:20-cv-00784 (D. Conn.) – final approval granted
for class settlement to resolve claims over COVID-19 fee refunds to students.

In re GE/Canon Data Breach, Case No. 1:20-cv-02903 (S.D.N.Y.) – final approval granted for
class settlement to resolve data breach claims.

Davis v. Urban Outfitters, Inc., Index No. 612162/2022 (Nassau Cnty. N.Y.) – final approval
granted for class settlement involving untimely wage payments to employees.

Armstead v. VGW Malta LTD et al., Civil Action No. 22-CI-00553 (Henderson Cir. Ct. Ky.) –
final approval granted for class settlement involving allegedly deceptive and/or illegal gambling
practices.

Casler et al. v. Mclane Company, Inc. et al., Index No. 616432/2022 (Nassau Cnty. N.Y.) – final
approval granted for class settlement involving untimely wage payments to employees.

Wyland v. Woopla, Inc., Civil Action No. 2023-CI-00356 (Henderson Cir. Ct. Ky.) – final
approval granted for class settlement involving allegedly deceptive and/or illegal gambling
practices.

Graziano et al. v. Lego Systems, Inc., Index No. 611615/2022 (Nassau Cnty. N.Y.) – final
approval granted for class settlement involving untimely wage payments to employees.

Lipsky et al. v. American Behavioral Research Institute, LLC, Case No. 50-2023-CA-011526-
XXXX-MB (Palm Beach Cnty. Fl.) – final approval granted to resolve allegedly deceptive
automatic renewal and product efficacy claims.

Whiting v. Yellow Social Interactive Ltd., Civil Action No. 2023-CI-00358 (Henderson Cir. Ct.
Ky.) – final approval granted for class settlement involving allegedly deceptive and/or illegal
gambling practices.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 31 of 39 PageID #:1973
                                                                                        PAGE 25


                                        STEPHEN BECK

      Stephen is an Associate with Bursor & Fisher, P.A. Stephen focuses his practice on
complex civil litigation and class actions.

       Stephen is admitted to the State Bar of Florida and is a member of the bars of the United
States District Courts for the Southern and Middle Districts of Florida, the Eastern District of
Missouri, and the Northern District of Illinois.

       Stephen received his Juris Doctor from the University of Miami School of Law in 2018.
During law school, Stephen received an Honors distinction in the Litigation Skills Program and
was awarded the Honorable Theodore Klein Memorial Scholarship for excellence in written and
oral advocacy. Stephen also received the CALI Award in Legislation for earning the highest
grade on the final examination. Stephen graduated from the University of North Florida with a
B.A. in Philosophy in 2015.

                                  STEFAN BOGDANOVICH

        Stefan Bogdanovich is an Associate with Bursor & Fisher, P.A. Stefan litigates complex
civil and class actions typically involving privacy, intellectual property, entertainment, and false
advertising law.

       Prior to working at Bursor & Fisher, Stefan practiced at two national law firms in Los
Angeles. He helped represent various companies in false advertising and IP infringement cases,
media companies in defamation cases, and motion picture producers in royalty disputes. He also
advised corporations and public figures on complying with various privacy and advertising laws
and regulations.

       Stefan is admitted to the State Bar of California and all of the California Federal District
Courts. He is also a Certified Information Privacy Professional.

      Stefan received his Juris Doctor from the University of Southern California Gould School
of Law in 2018, where he was a member of the Hale Moot Court Honors Program and the Trial
Team. He received the highest grade in his class in three subjects, including First Amendment
Law.

                                      BRITTANY SCOTT

       Brittany Scott is an Associate with Bursor & Fisher, P.A. Brittany focuses her practice
on data privacy, complex civil litigation, and consumer class actions. Brittany was an intern with
Bursor & Fisher prior to joining the firm.

        Brittany has substantial experience litigating consumer class actions, including those
involving data privacy claims under statutes such as the Illinois Biometric Information Privacy
Act, the Fair Credit Reporting Act, and the Michigan Preservation of Personal Privacy Act. In
addition to data privacy claims, Brittany has significant experience in litigating class action
claims involving false and misleading advertising.
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        Brittany is admitted the State Bar of California and is a member of the bars of the United
States District Courts for the Northern, Central, Southern, and Eastern Districts of California, the
Eastern District of Wisconsin, the Northern District of Illinois, the Ninth Circuit Court of
Appeals, the Seventh Circuit Court of Appeals, and Second Circuit Court of Appeals.

        Brittany received her Juris Doctor from the University of California, Hastings College of
the Law in 2019, graduating cum laude. During law school, Brittany was a member of the
Constitutional Law Quarterly, for which she was the Executive Notes Editor. Brittany published
a note in the Constitutional Law Quarterly entitled “Waiving Goodbye to First Amendment
Protections: First Amendment Waiver by Contract.” Brittany also served as a judicial extern to
the Honorable Andrew Y.S. Cheng for the San Francisco Superior Court. In 2016, Brittany
graduated from the University of California Berkeley with a B.A. in Political Science.

                                   Selected Class Settlements:

Morrissey v. Tula Life, Inc., Case No. 2021L0000646 (Cir. Ct. DuPage Cnty. 2021) – final
approval granted for $4 million class settlement to resolve claims of cosmetics purchasers for
alleged false advertising.

Clarke et al. v. Lemonade Inc., Case No. 2022LA000308 (Cir. Ct. DuPage Cnty. 2022) – final
approval granted for $4 million class settlement to resolve claims for alleged BIPA violations.

Whitlock v. Jabil Inc., Case No. 2021CH00626 (Cir. Ct. Cook Cnty. 2022) – final approval
granted for $995,000 class settlement to resolve claims for alleged BIPA violations.

                                       MAX S. ROBERTS

        Max Roberts is an Associate in Bursor & Fisher’s New York office. Max focuses his
practice on class actions concerning data privacy and consumer protection. Max was a Summer
Associate with Bursor & Fisher prior to joining the firm and is now Co-Chair of the firm’s
Appellate Practice Group.

      In 2023, Max was named “Rising Star” in the New York Metro Area by Super
Lawyers®.

       Max received his Juris Doctor from Fordham University School of Law in 2019,
graduating cum laude. During law school, Max was a member of Fordham’s Moot Court Board,
the Brennan Moore Trial Advocates, and the Fordham Urban Law Journal, for which he
published a note entitled Weaning Drug Manufacturers Off Their Painkiller: Creating an
Exception to the Learned Intermediary Doctrine in Light of the Opioid Crisis. In addition, Max
served as an intern to the Honorable Vincent L. Briccetti of the Southern District of New York
and the Fordham Criminal Defense Clinic. Max graduated from Johns Hopkins University in
2015 with a B.A. in Political Science.

       Outside of the law, Max is an avid triathlete.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 33 of 39 PageID #:1975
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                                 Selected Published Decisions:

Jackson v. Amazon.com, Inc., 65 F.4th 1093 (9th Cir. 2023), affirming district court’s denial of
motion to compel arbitration. Max personally argued the appeal before the Ninth Circuit, which
can be viewed here.

Javier v. Assurance IQ, LLC, 2022 WL 1744107 (9th Cir. May 31, 2022), reversing district court
and holding that Section 631 of the California Invasion of Privacy Act requires prior consent to
wiretapping. Max personally argued the appeal before the Ninth Circuit, which can be viewed
here.

Mora v. J&M Plating, Inc., 213 N.E.3d 942 (Ill. App. Ct. 2d Dist. 2022), reversing circuit court
and holding that Section 15(a) of Illinois’ Biometric Information Privacy Act requires an entity
to establish a retention and deletion schedule for biometric data at the first moment of
possession. Max personally argued the appeal before the Second District, which can be listened
to here.

Gladstone v. Amazon Web Services, Inc., --- F. Supp. 3d ---, 2024 WL 3276490 (W.D. Wash.
July 2, 2024), denying motion to dismiss alleged violations of California wiretapping statute.

Rancourt v. Meredith Corp., 2024 WL 381344 (D. Mass. Jan. 11, 2024), denying motion to
dismiss alleged violations of federal Video Privacy Protection Act, and finding personal
jurisdiction over operator of mobile application.

Saunders v. Hearst Television, Inc., --- F. Supp. 3d ---, 2024 WL 126186 (D. Mass. Jan. 11,
2024), denying motion to dismiss alleged violations of federal Video Privacy Protection Act.

Yockey v. Salesforce, Inc., 688 F. Supp. 3d 962 (N.D. Cal. 2023), denying in part motion dismiss
alleged violations of California and Pennsylvania wiretapping statutes.

Cristostomo v. New Balance Athletics, Inc., 647 F. Supp. 3d 1 (D. Mass. 2022), denying motion
to dismiss and motion to strike class allegations in case involving sneakers marketed as “Made in
the USA.”

Carroll v. Myriad Genetics, Inc., 2022 WL 16860013 (N.D. Cal. Nov. 9, 2022), denying in part
motion to dismiss in case involving non-invasive prenatal testing product.

                                   Selected Class Settlements:

Sholopa v. Turk Hava Yollari A.O. (d/b/a Turkish Airlines), Case No. 1:20-cv-3294-ALC
(S.D.N.Y. 2023) – final approval granted for $14.1 million class settlement to resolve claims of
passengers whose flights with Turkish Airlines were cancelled due to COVID-19 and who did
not receive refunds.

Payero v. Mattress Firm, Inc., Case No. 7:21-cv-3061-VB (S.D.N.Y. 2023) – final approval
granted for $4.9 million class settlement to resolve claims of consumers who purchased allegedly
defective bed frames.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 34 of 39 PageID #:1976
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Miranda v. Golden Entertainment (NV), Inc., Case No. 2:20-cv-534-AT (D. Nev. 2021) – final
approval granted for class settlement valued at over $4.5 million to resolve claims of customers
and employees of casino company stemming from data breach.

Malone v. Western Digital Corp., Case No. 5:20-cv-3584-NC (N.D. Cal. 2021) – final approval
granted for class settlement valued at $5.7 million to resolve claims of hard drive purchasers for
alleged false advertised.

Frederick v. ExamSoft Worldwide, Inc., Case No. 2021-L-001116 (18th Judicial Circuit Court
DuPage County, Illinois 2021) – final approval granted for $2.25 million class settlement to
resolve claims of Illinois students for alleged violations of the Illinois Biometric Information
Privacy Act.

                                         Bar Admissions

   New York State
   Southern District of New York
   Eastern District of New York
   Northern District of New York
   Northern District of Illinois
   Central District of Illinois
   Eastern District of Michigan
   District of Colorado
   Third Circuit Court of appeals
   Seventh Circuit Court of Appeals
   Ninth Circuit Court of Appeals

                                     JULIA K. VENDITTI

        Julia K. Venditti is an Associate with Bursor & Fisher, P.A. Julia focuses her practice on
complex civil litigation and class actions. Julia was a Summer Associate with Bursor & Fisher
prior to joining the firm.

       Julia is admitted to the State Bar of California and is a member of the bars of the United
States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

        Julia received her Juris Doctor in 2020 from the University of California, Hastings
College of the Law, where she graduated cum laude with two CALI Awards for the highest
grade in her Evidence and California Community Property classes. During law school, Julia was
a member of the UC Hastings Moot Court team and competed at the Evans Constitutional Law
Moot Court Competition, where she finished as a national quarterfinalist and received a best
brief award. Julia was also inducted into the UC Hastings Honors Society and was awarded Best
Brief and an Honorable Mention for Best Oral Argument in her First-Year Moot Court section.
In addition, Julia served as a Research Assistant for her Constitutional Law professor, as a
Teaching Assistant for Legal Writing & Research, and as a Law Clerk at the San Francisco
Public Defender’s Office. In 2017, Julia graduated magna cum laude from Baruch
College/CUNY, Weissman School of Arts and Sciences, with a B.A. in Political Science.
Case: 1:21-cv-02032 Document #: 122-3 Filed: 10/04/24 Page 35 of 39 PageID #:1977
                                                                                        PAGE 29


                                      JULIAN DIAMOND

        Julian Diamond is an Associate with Bursor & Fisher, P.A. Julian focuses his practice on
privacy law and class actions. Julian was a Summer Associate with Bursor & Fisher prior to
joining the firm.

       Julian received his Juris Doctor from Columbia Law School, where he was a Harlan
Fiske Stone Scholar. During law school, Julian was Articles Editor for the Columbia Journal of
Environmental Law. Prior to law school, Julian worked in education. Julian graduated from
California State University, Fullerton with a B.A. in History and a single subject social science
teaching credential.

                                    MATTHEW GIRARDI

       Matt Girardi is an Associate with Bursor & Fisher, P.A. Matt focuses his practice on
complex civil litigation and class actions, and has focused specifically on consumer class actions
involving privacy violations, illegal gambling, financial misconduct, and false advertising. Matt
was a Summer Associate with Bursor & Fisher prior to joining the firm.

       Matt is admitted to the State Bar of New York, and is a member of the bars of the United
States District Courts for the Southern District of New York, the Eastern District of New York,
the Eastern District of Michigan, the Western District of Michigan, the First Circuit Court of
Appeals, and the Ninth Circuit Court of Appeals.

        Matt received his Juris Doctor from Columbia Law School in 2020, where he was a
Harlan Fiske Stone Scholar. During law school, Matt was the Commentary Editor for the
Columbia Journal of Tax Law, and represented fledgling businesses for Columbia’s
Entrepreneurship and Community Development Clinic. In addition, Matt worked as an Honors
Intern in the Division of Enforcement at the U.S. Securities and Exchange Commission. Matt
graduated from Brown University in 2016 with a B.A. in Economics, and worked as a Paralegal
Specialist at the U.S. Department of Justice in the Antitrust Division prior to law school.

                                   Selected Class Settlements:

Armstead v. VGW Malta Ltd. et al., Case No. 22-CI-00553 (Henderson Cnty. Ky. 2023) – final
approval granted for $11.75 million class settlement involving allegedly deceptive and/or illegal
gambling practices.

Edwards v. Mid-Hudson Valley Federal Credit Union, Case No. 22-cv-00562-TJM-CFH
(N.D.N.Y. 2023) – final approval granted for $2.2 million class settlement to resolve claims that
an upstate New York credit union was unlawfully charging overdraft fees on accounts with
sufficient funds.

Fischer, et al. v. Instant Checkmate LLC, et al., No. 19-cv-04892 (N.D. Ill. 2024) – final
approval granted for state-by-state non-reversionary cash settlements involving alleged
violations of right of publicity statutes totaling in excess of $10.1 million.
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Wyland v. Woopla, Inc., Civil Action No. 2023-CI-00356 (Henderson Cir. Ct. Ky. 2023) – final
approval granted for $835,000 class settlement involving allegedly deceptive and/or illegal
gambling practices.

Whiting v. Yellow Social Interactive Ltd., Civil Action No. 2023-CI-00358 (Henderson Cir. Ct.
Ky. 2023) – final approval granted for $1.32 million class settlement involving allegedly
deceptive and/or illegal gambling practices.

                                     JENNA GAVENMAN

        Jenna Gavenman is an Associate with Bursor & Fisher, P.A. Jenna focuses her practice
on complex civil litigation and consumer class actions. Jenna was a Summer Associate and a
part-time intern with Bursor & Fisher prior to joining the firm as a full-time Associate in
September 2022.

       Jenna is admitted to the State Bar of California and is a member of the bars of the United
States District Courts for the Northern, Eastern, Central, and Southern Districts of California.

        Jenna received her Juris Doctor in 2022 from the University of California, Hastings
College of the Law (now named UC Law SF). During law school, she was awarded an
Honorable Mention for Best Oral Argument in her First-Year Moot Court section. Jenna also
participated in both the Medical Legal Partnership for Seniors (MLPS) and the Lawyering for
Children Practicum at Legal Services for Children—two of UC Hastings’s nationally renowned
clinical programs. Jenna was awarded the Clinic Award for Outstanding Performance in MLPS
for her contributions to the clinic. In addition, Jenna volunteered with her law school’s Legal
Advice and Referral Clinic and as a LevelBar Mentor.

       In 2018, Jenna graduated cum laude from Villanova University with a B.A. in Sociology
and Spanish (double major). Jenna was a Division I athlete, competing on the Villanova
Women’s Water Polo varsity team for four consecutive years.

                                        EMILY HORNE

       Emily Horne is an Associate with Bursor & Fisher, P.A. Emily focuses her practice on
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       Emily is admitted to the State Bar of California.

       Emily received her Juris Doctor from the University of California, Hastings College of
the Law in 2022 (now UC, Law SF). During law school, Emily served as Editor-in-Chief for the
UC Hastings Communications and Entertainment Law Journal, and she competed on the Moot
Court team. Emily also served as a judicial extern in the Northern District of California and as a
Teaching Assistant for Legal Writing & Research. In 2015, Emily graduated from Scripps
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                                       IRA ROSENBERG

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        Ira received his Juris Doctor in 2022 from Columbia Law School. During law school, Ira
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Exchange Commission. Ira also interned during law school in the Criminal Division at the
United States Attorney’s Office for the Southern District of New York and with the Investor
Protection Bureau at the Office of the New York State Attorney General. Ira graduated in 2018
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                                  LUKE SIRONSKI-WHITE

         Luke Sironski-White is an Associate with Bursor & Fisher, P.A., focusing on complex
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August 2022.

       Luke is admitted to the State Bar of California and is a member of the bars of the United
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        Luke received his Juris Doctor in 2022 from the University of California, Berkeley
School of Law. During law school, Luke was on the board of the Consumer Advocacy and
Protection Society (CAPS), edited for the Berkeley Journal of Employment and Labor Law, and
volunteered with the Prisoner Advocacy Network.

       In 2017, Luke graduated from the University of Chicago with a B.A. in Anthropology.
Before entering the field of law Luke was a professional photographer and filmmaker.

                                           INES DIAZ

      Ines Diaz is an Associate with Bursor & Fisher, P.A. Ines focuses her practice on
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       Ines is admitted to the State Bar of California.

        Ines received her Juris Doctor in 2023 from the University of California, Berkeley School
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She also served as an intern with the East Bay Community Law Center’s Immigration Clinic and
as a Fellow of the Berkeley Law Academic Skills Program. Additionally, Ines served as an
instructor with the University of California, Berkeley Extension, Legal Studies Global Access
Program where she taught legal writing to international law students. In 2021, Ines was selected
for a summer externship at the California Supreme Court where she served as a judicial extern
for the Honorable Mariano-Florentino Cuéllar.
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                                  CAROLINE C. DONOVAN

        Caroline C. Donovan is an Associate with Bursor & Fisher, P.A. Caroline focuses her
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interned with Bursor & Fisher during her third year of law school before joining full time in Fall
2023.

       Caroline is admitted to the State Bar of New York.

        Caroline received her Juris Doctor in 2023 from Brooklyn Law School. During law
school, Caroline was a member of the Moot Court Honor Society Trial Division, where she was
chosen to serve as a National Team Member. Caroline competed and coached in numerous
competitions across the country, and placed second at regionals in AAJ’s national competition in
both her second and third year of law school. Caroline was also the President of the Art Law
Association, and the Treasurer of the Labor and Employment Law Association.

       During law school, Caroline was a judicial intern for Judge Kenneth W. Chu of the
National Labor Relations Board. She also interned at the United States Attorney’s Office in the
Eastern District of New York, as well as a securities class action firm.

                                      JOSHUA B. GLATT

       Joshua Glatt is an Associate with Bursor & Fisher, P.A. Joshua focuses his practice on
complex civil litigation and consumer class actions. Joshua was a Summer Associate with
Bursor & Fisher prior to joining the firm as an Associate.

       Joshua earned his Juris Doctor from the University of California College of the Law, San
Francisco (formerly U.C. Hastings). While there, he received a CALI Award for earning the
highest grade in Constitutional Law II and served on the executive boards of the Jewish Law
Students Association and the American Constitution Society. Prior to law school, Joshua
graduated summa cum laude from the Walter Cronkite School of Journalism and Mass
Communication at Arizona State University in 2016 and earned a master’s degree from the
University of Southern California in 2018.

                                     JOSHUA R. WILNER

      Joshua Wilner is an Associate with Bursor & Fisher, P.A. Joshua focuses his practice on
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       Joshua received his Juris Doctor in 2023 from Berkeley Law. During law school, he
received the American Jurisprudence Award for Constitutional Law.

        During law school, Joshua served on the board of the Berkeley Journal of Employment
and Labor Law. Joshua also interned at Disability Rights California, Legal Aid at Work, and a
private firm that worked closely with the ACLU of Northern California to enforce the California
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Racial Justice Act. In 2022 and 2023, Joshua worked as a research assistant for Professor Abbye
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                                       VICTORIA ZHOU

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       Victoria is admitted to the State Bar of New York.

        Victoria received her Juris Doctor from Fordham Law School in 2023. During law
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multiple mock trial competitions as a member of the Brendan Moore Trial Advocates. In
addition, Victoria served as a judicial extern to Chief Judge Mark A. Barnett of the United States
Court of International Trade. In 2019, Victoria graduated magna cum laude from Fei Tian
College with a B.F.A. in Classical Dance.

                                       KYLE D. GORDON

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       Kyle is admitted to the State Bar of New York.

        Kyle received his Juris Doctor from Columbia Law School in 2023, where he was a
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Science and Technology Law Review. In 2020, Kyle graduated summa cum laude from New
York University with a B.A. in Politics and became a member of Phi Beta Kappa. Prior to law
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